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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION


ERIC S. PAVLACK, on behalf of himself           CASE NO.     1:17-cv-2935
and all others similarly situated,

      Plaintiff,                                CLASS ACTION

v.

ROYAL ADMINISTRATION SERVICES,                  JURY DEMANDED
INC.,

      Defendant.


                          CLASS ACTION COMPLAINT

         1.   Plaintiff and proposed Class Representative, Eric Pavlack, by counsel,

on behalf of himself and all others similarly-situated, brings this proposed class

action against Defendant Royal Administration Services, Inc. (“Royal Admin”) to

recover damages and to obtain injunctive relief for the claims identified in full

below.

         2.   As set forth in more detail below, Royal Admin used automatic

telephone dialing systems to initiate calls to wireless cellular telephone lines of

Plaintiff and Class members using an artificial and/or prerecorded voice to deliver a

message without prior express consent of the called party in violation of the

Telephone Consumer Protection Act, codified at 47 U.S.C. § 227 (the “TCPA”).

         3.   Plaintiff brings this case as a proposed class action pursuant to

Federal Rule of Civil Procedure 23 on behalf of a Class, defined more fully below,
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who received calls to their wireless cellular telephone lines in violation of the TCPA,

seeking monetary and injunctive relief.

                                       PARTIES

       4.    Plaintiff Eric Pavlack is a citizen and resident of the State of Indiana,

residing in Indianapolis, Indiana.

       5.    Defendant Royal Admin Cruises, LLC, is a Florida Corporation that

regularly transacts business in the State of Indiana. Royal Admin initiated the

subject telemarketing call to the cellular telephone number of an Indiana resident,

calling an Indianapolis area code.

                             JURISDICTION & VENUE

       6.    This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §

1332(d)(2) because the matter in controversy in this civil action exceeds the sum or

value of $5 million, exclusive of interests and costs, and this is a class action in

which class members are citizens of different states.

       7.    This Court also has federal question subject-matter jurisdiction

pursuant to 28 U.S.C. § 1331 because this case seeks redress for violation of federal

law.

       8.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) & (c)

because Defendant resides in this district and a substantial part of the events or

omissions giving rise to the claims herein occurred within this district, including

Royal Admin’s violations of the TCPA.




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      9.     Defendant resides in this district for purposes of 28 U.S.C. § 1391

because they are subject to general personal jurisdiction in this district. Defendant

has continuous and systematic contacts with Indiana, including this district,

through selling and marketing its services in Indiana, to Indiana residents,

including residents of this district. Defendant is also subject to specific personal

jurisdiction in this district because its contacts with this district gave rise to the

instant action.

      10.    Venue is also proper in this court because Plaintiff is a citizen of

Indiana who resides in this district.

                             FACTUAL ALLEGATIONS

      11.    On July 24, 2017, Plaintiff received a telephone call to his cellular

phone from phone number (832) 240-3940.

      12.    When Plaintiff picked up the call, an automated voice advertised the

availability of an extended vehicle warranty.

      13.    Plaintiff was then connected to a live person who identified themself as

working for Royal Admin.

      14.    Prior to this call, Plaintiff had never heard of Royal Admin, had never

done business with Royal Admin, and had never given written or oral permission to

receive automated pre-recorded marketing calls from Royal Admin.

      15.    Under the TCPA, the term telemarketing means the initiation of a

telephone call or message for the purpose of encouraging the purchase or rental of,

or investment in, property, goods, or services, which is transmitted to any person.




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      16.    The call from Royal Admin fits squarely within this definition, as the

purpose of the call from Royal Admin was to encourage the purchase of goods or

services.

      17.    Any purported consent received by Royal Admin or its agents did not

conform to requirements of the TCPA or the Rules and Regulations Implementing

the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278, Report and

Order, 27 FCC Rcd 1830 (2012) and Rules and Regulations Implementing the

Telephone Consumer Protection Act of 1991, CG Docket No. 02-278, WC Docket No.

07-135, Declaratory Ruling and Order, FCC 15-72, 30 F.C.C.R. 7961, 7996 (July 10,

2015), or otherwise satisfy any prior express requirements applicable under the

TCPA.

                        CLASS ACTION ALLEGATIONS

      18.    Plaintiff bring this case pursuant to Rules 23(b)(3) of the Federal Rules

of Civil Procedure on their own behalf and on behalf of the proposed Class, defined

as:

             All persons within the United States who, within four
             years prior to the filing of this action received any
             telephone call from Defendant or its agents to either: (1) a
             cellular telephone subscribed to by said person, or (2) a
             cellular telephone for which said person is the number’s
             customary user, where the call from Defendant was made
             through the use an artificial or prerecorded voice, which
             call was not made for emergency purposes.

      19.    Defendant and its employees and agents are excluded from the Class.

      20.    The Class is comprised of hundreds or likely thousands of individuals.

Although the exact number of class members is presently unknown, the number



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and identity of Class members can be readily determined through Royal Admin’s

records.

         21.   The disposition of the numerous claims of these class members in a

single class action will provide substantial benefits to all parties and to the Court.

         22.   Defendant has acted or refused to act on grounds that apply generally

to the Class, so that final injunctive relief is appropriate respecting the Class as a

whole.

         23.   There is a well-defined community of interest in the questions of law

and fact involved affecting the class members. The questions of law and fact

common to the Class predominate over questions affecting only individual class

members, and include without limitation the following:

               A.     Whether Royal Admin used an artificial or prerecorded voice in

         placing calls.

               B.     Whether Royal Admin received consent from Plaintiff and Class

         members prior to placing calls to the cellular telephones of Plaintiff and Class

         members.

               C.     Whether any purported consent received by Royal Admin

         complied with the requirements set forth by the Federal Communications

         Commission and/or the TCPA.

               D.     Whether Royal Admin acted willfully and/or knowingly in

         violation of the TCPA.




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      24.    Plaintiff’s claims are typical of the claims of the Class. Plaintiff and

Class members have similarly received calls from Royal Admin to cellular

telephones owned by Plaintiff and Class members, and Plaintiff and Class members

suffered the same harm arising from Royal Admin’s legal violations as identified in

causes of action enumerated and set forth below.

      25.    Plaintiff’s and Class members’ claims flow, in each instance, from a

common nucleus of operative facts: Royal Admin’s legal violations as identified in

causes of action enumerated and set forth below.

      26.    Plaintiff is an adequate representative of the Class because his

interests do not conflict with and are not antagonistic to the interests of the Class

members he seeks to represent. Plaintiff will fairly and adequately represent and

protect the interests of the Class.

      27.    Plaintiff has retained competent and experienced counsel.

      28.    Plaintiff and Class members have all suffered and will continue to

suffer substantial harm and damages due to Royal Admin’s conduct. A class action

is superior to other methods for the fair and efficient adjudication of the subject

controversy. Absent a class action, most Class members likely will find the cost of

litigating their individual claims to be prohibitive, and will have no effective remedy

at all. Absent a class action, class members will continue to sustain damages, and

Royal Admin’s misconduct will proceed without remedy.

      29.    The class treatment of common questions of law and fact is also

superior to multiple individual actions or piecemeal litigation in that it conserves




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the resources of the courts and the litigants and promotes consistency and efficiency

of adjudication. Additionally, Royal Admin has acted, and failed to act, on grounds

generally applicable to Plaintiff and the Class, requiring court imposition of uniform

relief to insure compatible standards of conduct toward Plaintiff and the Class.

                               CAUSES OF ACTION

      30.    All facts alleged above, as well as all facts alleged in each individual

count, are incorporated by reference as though set forth in each individual count.

Unless otherwise specified, no fact is to be read as though applying solely to an

isolated section of this Complaint.

                          COUNT I
                NEGLIGENT VIOLATIONS OF THE
        TELEPHONE CONSUMER PROTECTION ACT 47 U.S.C. § 227

      31.    The foregoing acts and omissions of Defendant and its agents

constitute numerous and multiple negligent violations of the TCPA, including but

not limited to each of the above-cited provisions of 47 U.S.C. § 227.

      32.     As a result of the negligent violations of 47 U.S.C. § 227 by Defendant

and its agents, Plaintiff and Class members are entitled to an award of $500 in

statutory damages for each and every call in violation of the statute, pursuant to 47

U.S.C. § 227(b)(3)(B).

      33.    Plaintiff and Class members are also entitled to and seek injunctive

relief prohibiting Defendant’s, and its agents’, violation of the TCPA in the future.

      34.    Plaintiff and Class members are also entitled to an award of attorneys’

fees and costs.




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                           COUNT II
           KNOWING AND/OR WILLFUL VIOLATIONS OF THE
        TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227

      35.    The foregoing acts and omissions of Defendant and its agents

constitute numerous and multiple knowing and/or willful violations of the TCPA,

including but not limited to each of the above-cited provisions of 47 U.S.C. § 227.

      36.    As a result of Defendant’s, and its agents’, knowing and/or willful

violations of 47 U.S.C. § 227, Plaintiff and each member of the Class are entitled to

treble damages of up to $1,500 for each and every call in violation of the statute,

pursuant to 47 U.S.C. § 227(b)(3).

      37.    Plaintiff and all Class members are also entitled to and do seek

injunctive relief prohibiting such conduct violating the TCPA by Defendant and its

agents in the future.

      38.    Plaintiff and Class members are also entitled to an award of attorneys’

fees and costs.

                               DEMAND FOR RELIEF

     WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated,

respectfully requests an order certifying this matter as a class action with Plaintiff

as class representative and his counsel as class counsel; and entry of a judgment in

favor of Plaintiff, including an award of all available common-law and statutory

damages, pre- and post-judgment interest, injunctive relief, punitive damages,

attorneys’ fees, costs, and all other just and proper relief.

                            DEMAND FOR JURY TRIAL




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     Plaintiff respectfully demands a jury trial on all of their claims.

                                       s/ G. John Cento
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